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                      IN THE UNITED STATES DISTRICT COURT FOR THE

                                EASTERN DISTRICT OF VIRGINIA
                                                                                              SEP I I 2019
                                                                                                                a
                                       RICHMOND DIVISION                                CLERK, U.S. DISTRICT COURT
                                                                                               RICHMOND, VA

 UNITED STATES OF AMERICA


                 V.                                       Criminal No, 3:19cr
                                                                                 105
 CHRISTOPHER GRANT,                                      18 U.S.C.§§ 201(b)(2)
                                                         Receipt of a Bribe by a Public Official
                 Defendant.                              (Count One)




                                    CRIMINAL INFORMATION


        THE UNITED STATES ATTORNEY CHARGES THAT on or about December 3, 2016,

CHRISTOPHER GRANT, a public official, directly and indirectly did corruptly demand, seek,

receive, accept, and agree to receive and accept something of value personally, in return for being

induced to do an act and omit to do an act in violation of his official duty; that is: GRANT,a U.S.

Postal carrier received and accepted U.S. currency in exchange for delivering a U.S. mail parcel

to someone other than the addressee named thereon at a location other than the delivery address

designated thereon and then failed to deliver the same parcel in accordance with the directions

specified thereon, all in violation of his official duties as a U.S. Postal letter carrier.

       (In violation of Title 18, United States Code, Section 201(b)(2)).

                                                  Respectfully submitted,

                                                  G. Zachary Terwilliger
                                                  United States Attorney


 Date: September 11.2019                    By:
                                                  Kaitlin G. Cooke
                                                                         Otl ■ C(^^4^
                                                  Assistant United States Attorney
